       Case 8-18-72911-reg            Doc 17      Filed 07/27/18       Entered 07/27/18 11:58:48




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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                                                                :
                                                                :   CASE NO.: 18-72911
 IN RE:                                                         :
                                                                :   CHAPTER: 13
 Maria DeRosa
                                                                :
                                                                :   HON. JUDGE.:
 Debtor
                                                                :   ROBERT E. GROSSMAN
                                                                :
                                                                :



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 NOTICE OF OBJECTION TO DEBTOR’S REQUEST FOR LOSS MITIGATION

      PLEASE TAKE NOTICE that Fay Servicing, LLC as servicer for Wilmington Trust,
   National Association, not in its individual capacity, but solely as trustee for MFRA Trust
   2014-2 (“Secured Creditor”), the holder of a mortgage on real property of the debtor(s), by and
   through its undersigned attorneys, hereby objects to the request to enter loss mitigation on
   grounds including:

  1. Secured Creditor holds the mortgage on Debtor’s residence which is located at 82
     Philadelphia Avenue, Massapequa Park, NY 11762 (the “Property”). Debtor filed the
     instant bankruptcy filing on April 30, 2018.

  2. Debtor filed a request for loss mitigation, however, this Debtor has hand ample time to
     request loss mitigation but has not done so. The last loss mitigation review was closed
     out by Secured Creditor on July 17, 2018 for inactivity by the Debtor.

  3. The above facts and history of this case show a Debtor interested in stalling the
     Secured Creditor’s foreclosure process. If the Court granted the Debtor’s request for
     loss mitigation, Secured Creditor would be substantially harmed. In this case, Secured
     Creditor has absolutely acted in good faith in loss mitigation review, but the Debtor has
     failed to supply documents needed to procure a review. It is the belief of the Secured
     Creditor that the Debtor(s) are using the protection of the Bankruptcy process to
     impede Secured Creditor’s foreclosure action.

  4. For the reasons stated above, and for any others that the Court deems fit to adopt,
     Secured Creditor respectfully objects to Debtor(s) request for loss mitigation.
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    I hereby certify that the foregoing statements made by me are true. I am aware that if
any of the foregoing statements made by me are willfully false, I am subject to
punishment.


                                                      FRIEDMAN VARTOLO LLP
                                                      85 Broad Street Suite 501
                                                       New York, New York 10004
                                                       Attorneys for Fay Servicing, LLC as
                                                       servicer for Wilmington Trust, National
                                                       Association, not in its individual
                                                       capacity, but solely as trustee for MFRA
                                                       Trust 2014-2
                                                      By: /s/ Adam J. Friedman


                                                      Adam J. Friedman, Esq.


   Date: July 27, 2018
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 UNITED STATES BANKRUPTCY COURT
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                                                                 :   CHAPTER: 13
  Maria DeRosa
                                                                 :
                                                                     HON. JUDGE.:
                                                                 :
  Debtor
                                                                 :   ROBERT E. GROSSMAN
                                                                 :
                                                                 :



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                                     CERTIFICATION OF SERVICE
        On July 27, 2018, I served a true copy of the annexed NOTICE OF OBJECTION
TO LOSS MITIGATION by mailing the same by First Class Mail in a sealed envelope, with
postage prepaid thereon, in a post office or official depository of the U.S. Postal Service
within the State of New York, addressed to the last known address of the addressee, and the
property address as indicated on the attached Service List annexed hereto.

                                                              By: /s/ Adam J. Friedman
                                                              Adam J. Friedman, Esq.
                                                              FRIEDMAN VARTOLO LLP
                                                              85 Broad Street, Suite 501
                                                              New York, New York 10004
                                                              T: (212) 471-5100
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                                          SERVICE LIST

Maria DeRosa
82 Philadelphia Avenue
Massapequa Park, NY 11762
Debtor

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305 Fifth Avenue
Suite 1B
Brooklyn, NY 11215
Debtor’s Attorney

Michael J. Macco
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Suite 109
Islandia, NY 11749
Trustee

United States Trustee
Long Island Federal Courthouse
560 Federal Plaza – Room 560
Central Islip, NY 11722-4437
U.S. Trustee
